Case 5:23-cv-01603-PA-DTB Document 21 Filed 03/28/24 Page 1 of 2 Page ID #:1166




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 8                          UNITED STATES DISTRICT COURT
 9              CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
10
11   JOHN FRANKLIN FRIEDLANDER,                   Case No. 5:23-CV-1603-PA-DTB
12                Petitioner,                     Honorable Percy Anderson
13         v.
                                                  JUDGMENT OF DISMISSAL
14   JACOB DOERER, Warden, United States
     Federal Correctional Institute Victorville
15
     Medium II
16   ,
17                Respondent.
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Case 5:23-cv-01603-PA-DTB Document 21 Filed 03/28/24 Page 2 of 2 Page ID #:1167




 1         Petitioner John Franklin Friedlander having been granted parole, and having
 2   moved to voluntarily dismiss this habeas corpus action as moot,
 3            IT IS ORDERED that this action is dismissed.
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 6   DATED: March 28, 2024                 __________________________ __
 7                                         PERCY ANDERSON
                                           UNITED STATES DISTRICT JUDGE
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